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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §         No. 1:17-CR-40-1
                                                 §
 TRAVIS JOSEPH LEGER                             §


                            ELEMENTS OF THE OFFENSE
       You are charged in Count One of the Indictment with a violation of Title 18, United

 States Code, Section 371, Conspiracy.

       The essential elements which must be proven to establish the Title 18, United States

 Code, Section 371 violation are:


       First: The defendant agreed with at least one other person to violate the Lacey Act
       (Title 16, United States Code, Sections 3372 and 3373);

       Second: That defendant knew the unlawful purpose of the agreement and joined in it
       willfully, that is, with the intent to further the unlawful purpose; and

       Third: That one of the conspirators during the existence of the conspiracy knowingly
       committed at least one of the overt acts described in the indictment, in order to
       accomplish some object or purpose of the conspiracy.



                                            Respectfully submitted,

                                            BRIT FEATHERSTON
                                            ACTING UNITED STATES ATTORNEY

                                            /s/ Joseph R. Batte
                                            JOSEPH R. BATTE
                                            Assistant United States Attorney
                                            Texas Bar No. 01918070
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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served

 upon counsel for the defendant, David Grove, by electronic filing, on the 11th day of

 August 2017.


                                          /s/ Joseph R. Batte
                                          Joseph R. Batte
                                          Assistant United States Attorney
